                    IN THE SUPREME COURT OF NORTH CAROLINA

                                           2022-NCSC-6

                                            No. 302A21

                                      Filed 11 February 2022

     IN THE MATTER OF: K.M.S.


           Appeal pursuant to N.C.G.S. § 7B-1001(a1)(1) from an order entered on 27 May

     2021 by Judge John K. Greenlee in District Court, Gaston County. This matter was

     calendared for argument in the Supreme Court on 22 December 2021 but determined

     on the record and brief without oral argument pursuant to Rule 30(f) of the North

     Carolina Rules of Appellate Procedure.


           No brief filed for petitioner-appellee mother.

           No brief filed for appellee Guardian ad Litem.

           W. Michael Spivey for respondent-appellant father.


           NEWBY, Chief Justice.

¶1         Respondent-father appeals from the trial court’s order terminating his

     parental rights to K.M.S. (Alice).1 Counsel for respondent filed a no-merit brief under

     Rule 3.1(e) of the North Carolina Rules of Appellate Procedure. We conclude that the

     two issues identified by counsel in respondent’s brief as arguably supporting the

     appeal are meritless, and we therefore affirm the trial court’s order.



           1 A pseudonym is used in this opinion to protect the juvenile’s identity and for ease of

     reading.
                                          IN RE K.M.S.

                                           2022-NCSC-6

                                        Opinion of the Court



¶2         This case arises from a private termination action filed by petitioner, Alice’s

     mother. Petitioner and respondent, Alice’s father, met when petitioner was a senior

     in high school. Immediately after finishing high school, petitioner and respondent

     moved into an apartment, where they lived together for approximately nine months.

     Three months after she moved out of the apartment and about six weeks after she

     and respondent were no longer in a relationship, petitioner learned she was pregnant.

     The parties never married, though petitioner told respondent about the pregnancy.

     Respondent was unemployed while petitioner was pregnant. Respondent was present

     at Alice’s birth on 23 June 2013, but no father is listed on Alice’s birth certificate.

     Alice has lived with petitioner since her birth.

¶3         Respondent bought diapers for Alice when she was an infant. Respondent also

     testified that he provided formula, which petitioner contested. Respondent also made

     one car payment for petitioner. By the time Alice was one year old, respondent and

     petitioner’s relationship “totally cease[d].” A year and a half after Alice was born,

     petitioner obtained a Chapter 50B restraining order against respondent because “[h]e

     was mentally abusive” and “was constantly in a rage and upset.” Around the same

     time, respondent allegedly “tried to sign up [to pay child support] at [the Gaston

     County Department of] Social Services and didn’t know [petitioner]’s address.”

     Though respondent recalled speaking to a social worker there and submitting

     paperwork, he did not execute an affidavit acknowledging his paternity nor did
                                             IN RE K.M.S.

                                              2022-NCSC-6

                                           Opinion of the Court



     petitioner ever receive child support. Respondent has not seen Alice since she was

     about a year and a half old. Respondent acknowledged that he never pursued legal

     action to legitimate Alice. Respondent did file a complaint for custody of Alice and to

     pay child support, but paternity has not been established in that action.2

¶4          On 19 January 2021, petitioner filed a petition alleging a ground existed to

     terminate respondent’s parental rights pursuant to N.C.G.S. § 7B-1111(a)(5) (failure

     to legitimate). Respondent filed an answer on 11 March 2021 wherein he admitted

     that he had neither legitimated Alice through marriage to petitioner nor “established

     his paternity with respect to the juvenile through N.C.G.S. § 49-14, 110-132,

     130[A]-101, 130A-118, or any other judicial proceeding.” At the termination hearing,

     petitioner submitted into evidence an affidavit from the North Carolina Department

     of Health and Human Services (DHHS) stating that no affidavit of paternity had been

     received. Petitioner also testified that she never “receive[d] any kind of letter or

     correspondence . . . that [respondent] had filed a petition . . . to legitimate [Alice].”

¶5          Based on all the evidence, the trial court found respondent did not establish



            2 In June of 2020, respondent’s first attorney filed a complaint for custody. Shortly

     thereafter, however, the attorney discovered she had a conflict of interest and withdrew from
     the case. Respondent hired a second attorney, who filed a new complaint for custody on 3
     December 2020. The trial court found that respondent “never took any action to prosecute his
     [c]omplaint in the first filed custody action.” Moreover, the trial court found “that no hearing
     was ever held to make any substantive findings of fact or judicial decree relative to
     [respondent’s] paternity of the juvenile in the second filed case.” The guardian ad litem’s
     report filed with the trial court states the second action “is stayed pending the outcome of the
     case at bar.”
                                          IN RE K.M.S.

                                           2022-NCSC-6

                                        Opinion of the Court



     paternity under any of the five prongs set forth in the statute. See N.C.G.S.

     § 7B-1111(a)(5) (2019). Thus, the trial court concluded that a ground existed to

     terminate respondent’s parental rights under N.C.G.S. § 7B-1111. The trial court also

     concluded that terminating respondent’s parental rights was in Alice’s best interests.

     See id. § 7B-1110 (2019). Accordingly, the trial court terminated respondent’s

     parental rights.

¶6         Counsel for respondent filed a no-merit brief on his client’s behalf under Rule

     3.1(e) of the Rules of Appellate Procedure, identifying two issues that could arguably

     support an appeal but also stating why those issues lacked merit. First, counsel noted

     that respondent objected at the hearing to admission of the certified reply of DHHS

     to petitioner stating that no affidavit of paternity had been received. Counsel

     conceded, however, that the Juvenile Code requires that DHHS’s “certified reply shall

     be submitted to and considered by the court.” N.C.G.S. § 7B-1111(a)(5)(a). Because

     respondent did not argue at the trial court that the document was not DHHS’s

     certified reply to petitioner’s inquiry regarding whether an affidavit had been filed,

     counsel concluded this issue lacked merit.

¶7         Counsel next discussed whether the trial court’s findings of fact were

     supported by clear, cogent, and convincing evidence and supported the conclusions of

     law. Counsel asserted the trial court’s findings of fact “are supported by the testimony

     of both [petitioner and respondent].” Moreover, counsel noted that “[t]he trial court
                                          IN RE K.M.S.

                                           2022-NCSC-6

                                        Opinion of the Court



     made findings that encompass all of the statutory factors” required to determine

     whether termination of respondent’s parental rights was in Alice’s best interests.

     Thus, counsel concluded that this second issue also lacked merit. Finally, counsel

     advised respondent of his right to file pro se written arguments on his own behalf and

     provided him the documents necessary to do so. Respondent has not submitted

     written arguments to this Court.

¶8         Rule 3.1(e) of the Rules of Appellate Procedure “plainly contemplates appellate

     review of the issues contained in a no-merit brief.” In re L.E.M., 372 N.C. 396, 402,

     831 S.E.2d 341, 345 (2019). When a no-merit brief is filed pursuant to Rule 3.1(e), it

     “will, in fact, be considered by the appellate court and . . . an independent review will

     be conducted of the issues identified therein.” Id. at 402, 831 S.E.2d at 345. This Court

     conducts a “careful review of the issues identified in the no-merit brief in light of our

     consideration of the entire record.” Id. at 403, 831 S.E.2d at 345. Having reviewed the

     two issues identified by counsel in the no-merit brief, we are satisfied that the trial

     court’s order terminating respondent’s parental rights is supported by clear, cogent,

     and convincing evidence and is based on proper legal grounds. Accordingly, we affirm

     the trial court’s order terminating respondent’s parental rights.

           AFFIRMED.
